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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 1 of 21

44. Yim based this entrapment scheme to further remove all four children from
NRFEM (Martin’s house) and forced the four children, LF, KF, EF, & RF,
out of reunification with plaintiff, and into seclusion at a Tracy, California
foster home over 65 miles away from Martin’s house.

45.The reunification process has been excellent, until two weeks prior to the
reunification hearing; where Yim suddenly arranged the entrapment scheme.

46. Yim continues her torturing the children by ongoingly disturbing LF, KF, &
EF’s school; by randomly visit and surprise appearing during school time to
do psychiatric evaluations on the children.

47.Yim said that the school staff said Plaintiff's children have "mental issues;"
however, when Plaintiff called and Emailed the school to ask and verify, the
school was shocked and apologetic to what is happening and had no idea
why the social worker, Yim would make such claims. The school further
said, they did NOT say that.

48. Yim directs clinicians to perform psychiatric evaluations on all four
children, including the baby RF; whereas the older children answer "NO" to
something, the evaluator writes "YES" instead as answers. Whatever the
children say are not acknowledged, rather twisted into answers that are
entirely tainted by the evaluator himself, which is false and fraudulent. The

mishandling and manipulation by these conspirators violate privilege and
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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 2 of 21

protected information, (California Civil Code $1714; and to base on
insufficient evidence to remove children, Evidence $388.)

49. Yim further directed Plaintiff to take a 730 Evaluation done by Dr. Amy
Watt (hereinafter as “Watt”) who is a psychologist that asks leading
questions to taint the entire test, thus producing an inaccurate report that was
intentionally meant to support the manipulations of the federal defendant,
Yim.

50. Watt reported that Plaintiff “didn't know [her](Plaintiff’s) name or who
[she](Plaintiff) was or where she worked." If that's the case, how did Watt,
the CPS Networked 730 Evaluator, knew who Plaintiff was, or was able to
verify if Plaintiff was indeed Karena Feng to make such a severe diagnosis
on someone without verification of identity? The maliciousness here is
outrageous.

51.For example, when asked, are you depressed? The Plaintiff said, "no," then
the next question is, "When you are depressed, do you eat more or less?"
The Plaintiff answered, “I'm not depressed, and I’m not eating more or less.”
Then Watt said, “if you don't choose yes or no, [I’1]](Watt) call CPS and say
that [you’re](Plaintiff) is not cooperative and you'll lose parental rights.”
The test is fraudulent, biased, an entrapment, non-objective, and downright

malicious.

 
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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 3 of 21

52.Plaintiff insists on her answers, but Watt disregards Plaintiff's responses and

writes up whatever Watt wants in support of Yim’s directions.

 

53.Plaintiff voluntarily went through an equal leveled psychologist who's a
neutral third party that spent over twenty-four hours of investigation to
verify Plaintiff was an ideal mother (herein Second-Opinion as, Exhibit
“A”), while the CPS network psychologist Watt, spent two hours to come up
with meaningless, fraudulent and malicious remarks of malpractice.

54.Yim continues to demand the Plaintiff to seek therapy. Plaintiff insists that
Yim does not speak with the therapist beforehand to prevent fraud.

55.Yim demanded Plaintiff to seek therapy at San Francisco Mental Health
Services, and Plaintiff visited San Francisco Sunset Mental Health and went
through an over four-hours-long evaluation with Tammy Yu (hereinafter as
“Yu").

56. Yu determined in a professional manner that Plaintiff had no issues requiring
any therapy and case is closed (herein as Exhibit “F”). Yim ongoingly
demands Yu to re-open the case and insists Plaintiff get therapy that is not
within the scope of the therapy profession.

57. Yu advised the Plaintiff to seek a different supervising social worker instead.

However, Plaintiff's requests for a different social worker had been ignored.

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 4 of 21

58. Yim tells Plaintiff's children tall tales about Plaintiff to brainwash the
children — if mom’s alive, she’s a substance abuser. If mom’s not a
substance abuser, then she’s judged as “insane.”

59.Yim further CPS malicious allegations by insisting on allegations to be true
by Plaintiff's “admittance to CPS allegations” back in March 2019;
however, Plaintiff has NEVER admitted to any of the wrongful CPS
allegations. Vincent Davis (Plaintiffs attorney at the time) told plaintiff to
ACKNOWLEDGE in court as part of cooperating with court procedures as
an awareness of those CPS allegations. Acknowledging is different from
the definition of ADMITTING. Vincent Davis explicitly explained that
those were two different conditions, but expressed in a similar fashion. And,
that acknowledging is NOT admitting.

60.The Court ordered 9(nine) hours daily visitation with the children, but Yim
destructively changed it to 3 hours or less per week and refused reunification
based on Yim’s creations of fraud entrapment declared in paragraphs #23-
30, against Plaintiff's defenseless family.

61. Vincent Davis appealed the court’s order and to dismiss the case. However,
the court delayed the process due to the case gotten turned over to a CPS
networked public counsel, Alexa Collentine, who waited over half-year to

intentionally delay court processes, and then said it was too late for appeal.

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 5 of 21

62.The plaintiff trusts America’s justice and successfully turned-in an appeal in
Pro Per, which gotten accepted in the Sixth District Court.

63.FOURTEENTH AMENDMENT — LEGAL STANDARD

64. Due Process Clause

65.Section One of the Fourteenth Amendment to the United States
Constitution provides:

66.[N]or shall any State deprive any person of life, liberty, or property, without
due process of law.

67.In the past thirty-five years, the case law reads and is the authority that:

a. It is well settled that parents have a substantivedue process right to
the custody of their children and, except in emergency
circumstances, a procedural due process right to a pre-deprivation
child custody hearing.

b. The Fourteenth Amendment imposes a requirement that except in
emergency circumstances, the judicial process must be accorded to
both parent and child before removal of the child from his or her
parent’s custody may be effected.

c. “[A] parent may .. . bring suit under a theory of violation of his or her
right to substantive due process.. Parents havea ‘substantive right

under the Due Process Clause to remain together [with their children]

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 6 of 21

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without the coercive interference of the awesome power of the state.
... Tenenbaum v. Williams, 193 F.3d 581, 600 2d Cir. 1999) (second
alteration in original); Cox v. Warwick Valley Cent. Sch. Dist., 654
F.3d 267, 275 (2d Cir. 2011); and

d. “The interest of natural parents ‘in the care, custody, and management
of their child’ is a ‘fundamental liberty interest protected by the
Fourteenth Amendment”’ (quoting Santosky v. Kramer, 455 U.S. 745,
483 753 (1982)).

68.In stating a claim of violation of procedural due process, Plaintiff asserts:

a. The existence of a property or liberty interest that was deprived (the
liberty and property that was lost by a warrantless, unlawful seizure
without a court order).

b. Deprivation of that interest without due process as a result of witness
tampering, obstruction of justice, extortion, and a civil conspiracy to
cover it up (the lack of any non-tarnished fat finding hearing since the
inception of this matter.)

69.In stating a claim of violation of substantive due process, Plaintiff asserts
that:

a. She had a valid interest (the biological mother of unlawfully seized

LF, KF, EF, and RF.)

 
 

 

Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 7 of 21

b. That interest was infringed upon in an arbitrary or irrational manner
(the arbitrary allegation of “neglect”) contrary to the legal standard of
neglect defined as:

i. Any recent act or failure to act on the part of a parent or
caretaker which results in death, serious physical or emotional
harm, sexual abuse or exploitation”; or

i. An act or failure to act which presents an imminent risk of

serious harm,” (42 U.S.C.A. § 5106g).
70.Further, Plaintiff maintains that quoting Tenenbaum, that the seizure, under

unlawful circumstances (no warrant and no Court order), of LF, KF, EF, and
RF “was so shocking, arbitrary, and egregious that the Due Process Clause
would not countenance it even where it accompanied by full procedural
protection.” Cox v. Warwick Valley Cent. Sch. Distr., 654 F.3d 267, 275 (2d
Cir. 2011) (... Tenenbaum, 193 F.3d at 600):

a. So shocking in that the Hawkinson’s Petitions were revised 5 times
with the final one amounting to 126 pages report; and included
someone other than the Plaintiff's name, clearly committing fraud by
taking someone else’s story as Plaintiff's and proceeded under an

unconstitutional standard (Santorsky v. Kramer 455 (1982)) that

 
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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 8 of 21

requires the clear and convincing standard as opposed to the

preponderance of evidence standard);

. So arbitrary and without Plaintiffs authorization, federal defendant

Tan told the court that Plaintiff “submits” repetitively, to the false
petition from DFCS; plaintiff had previously told Tan that everything
written in the petition is outrageous, unfounded, and not accurate; Tan
constructively tampered with testimony in flagrant violation of the

predicate act of witness tampering under 18 U.S.C. 1961, et seq.

. So egregious in the glaring, flagrant actions of federal defendants,

where proceeding under the preponderance of evidence standard,

federal defendant Rosen had no subject matter jurisdiction.

'71.As a result, by a. to c. above, Plaintiff has suffered the shock of conscience
and the loss of her children to this day.

72.Plaintiff was singled out and discriminated against for reasons that an Asian
American woman, with a considerable commercial real estate portfolio,
looked upon with resentment by her adversaries, and the federal defendants
treated Plaintiff differently than others who were similarly situated (City of
Cleburne v. Cleburne Living Cir., 473 U.S. 432, 439 (1985); Hart v.
Westchester Cnty. Dep’t of Soc. Servs., 160 F. Supp. 2d 570, 578 (S.D.N.Y.

2001), and Giano v. Senkowski, 54 F.3d 1050 (2d Cir. 1995).

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 9 of 21

73.18 U.S.C. 1961, et seq. —- LEGAL STANDARD
74.Plaintiff asserts that according to 18 U.S.C. 1961, et seq. (the “RICO
Statute”), and shows by a preponderance of the evidence, that there exists a
racketeering Enterprise in California that consists of: County of Santa Clara,
County of San Francisco, DFCS, Superior Court of California County of
Santa Clara and San Francisco, a Family Court Judge, DFCS social workers,
and a Ph.D. leveled psychiatrist. Plaintiff asserts and shows with evidence
that social workers, a judge, and a psychiatrist conspire and collaborate to
concoct fictitious instances of child neglect contrary to the legal standard.
75.Traditional RICO Statute predicate acts are contained herein and include:
i. Witness tampering;
ii. Obstruction of justice;
iii. Extortion; and
iv. Civil conspiracy to cover up witness tampering and obstruction
of justice.
76.These predicate acts pled with specificity in the instant action.
77.The RICO Statute contains a provision that allows for the commencement of|
a civil action by a private party to recover damages sustained as a result of
the commission of a RICO predicate offense(s). The RICO Statute also

permits a private individual “damaged in his/her business or property” by a

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 10 of 21

“racketeer” to file a civil suit where the term “property” is construed to mean
tangible property. The plaintiff must prove the existence of an “enterprise”,
and plaintiff proves with evidence of the existence of such an enterprise
among California’s County of Santa Clara, County of San Francisco, a
Family Court Judge, DFCS social workers, and a Ph.D. leveled psychiatrist.
As pled elsewhere in the instant action, the connections among these parties

prove the existence of an “enterprise.”

78.Plaintiff shows with specificity at least one of four specified relationships

between the defendant(s) and the Enterprise: either the defendant(s) invested
the proceeds of the pattern of racketeering activity into the Enterprise (18
U.S.C. §1962(a)); or the defendant(s) acquired or maintained an interest in,
or control of, the Enterprise through the pattern of racketeering activity
(subsection (b)); or the defendant(s) conducted or participated in the affairs
of the Enterprise “through” the pattern of racketeering activity (subsection
(c)), or the defendant(s) conspired to do one of the above (subsection (d)).
The Enterprise is either the ‘prize,’ ‘instrument,’ ‘victim,’ or ‘perpetrator’ of

the racketeers. A Civil RICO action can be filed in Federal Court.

79.The civil component allows the recovery of treble damages (damages in

triple the amount of the actual/compensatory damages) and by Count Three

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 11 of 21

and Judgment Requested, Plaintiff demands treble damages in the amount of
$750,000,000 (seven hundred and fifty million dollars.
80.Predicate Act: Witness Tampering
81.18 U.S.C. §1512(b) provides:
Witness tampering is the act of attempting to alter or prevent the testimony of
witnesses within criminal or civil proceedings. Laws regarding witness
tampering also apply to proceedings before Congress, executive departments,
and administrative agencies. To be changed with witness tampering in the
United States, the attempt to alter or prevent testimony is sufficient. There is
no requirement that the intended obstruction of justice be completed.
82.Hawkinson and Yim tampered with witnesses and obstructed justice when
he called all of [my](Plaintiff’'s) witnesses and family supporters to tell them
that [our](Plaintiff’s family) are all mental and that if they took
[us](plaintiff’s family) in or help plaintiff, that it will be 18 long years and
that if anyone wants to be our supporters, would be exposed to the tax
authorities, medical authorities, and any other departments, anytime, for the
entire duration of 18 years, Hawkinson and Yim tampers with witnesses.
83. Without Plaintiff's authorization, federal defendant Tan told the court that
Plaintiff “submits” repetitively, to the false petition from social service;

Plaintiff had previously told Tan that everything written in the petition is

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 12 of 21

outrageous, unfounded, and not accurate; Tan constructively tampered with
testimony.

84. Whoever knowingly uses intimidation, threatens, or corruptly persuades
another person or attempts to do so, or engages in misleading conduct
toward another person in an official proceeding...:

85.18 U.S.C. §1512 (c) (2) provides:

Whoever corruptly-otherwise obstructs, influences, or impedes any official
proceedings or attempts to do so...

86.18 U.S.C. §1512 (e) provides:

In a prosecution for an offense under this section, it is an affirmative defense,
as to which the defendant has the burden of proof by basic evidence, that the
conduct consisted solely of lawful conduct and that the defendant’s sole
intention was to encourage, induce, or cause the other person to testify
truthfully.

87.18 U.S.C. §1515 (3) provides:

The term “misleading conduct” means-knowingly making a false statement;
(A) knowingly making a false statement (B) intentionally omitting
information from a statement and thereby causing a portion of such statement

to be misleading, or intentionally concealing a material fact, and thereby

 
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90. The facts of the instant action make it abundantly clear that Federal

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 13 of 21

creating a false impression by such statement...€ knowingly using a trick,
scheme, or device with intent to mislead;

.18 U.S.C. §1515 (b) provides:

As used in §1505, the term “corruptly” means acting with an improper
purpose, personally or by influencing another, including making a false or
misleading statement, or withholding, concealing, altering, or destroying a

document or other information.

.DISCUSSION

defendant Hawkinson and Yim knowingly, corruptly persuaded Plaintiffs
witnesses and family supporters to tell them [we](plaintiff) are all mental
and that if they took [us](plaintiff's family) in or help us, that it will be 18
long years and that if anyone wants to be [our](plaintiff) supporters, would
be exposed to the tax authorities, medical authorities, and any other
departments, anytime with the intent to (1) influence, delay, or prevent the
testimony of witnesses to aid in the defense of Plaintiff in an official
proceeding. Federal defendant Hawkinson committed witness tampering
under 18 U.S.C. §1512.

Federal defendant Hawkinson simply asked Plaintiff's witnesses and

family members to tell less than the whole truth and Plaintiff's witnesses and

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 14 of 21

family members knew that they were being asked to tell less than the whole
truth, therefore Hawkinson corruptly persuaded the witnesses and is a
violation of the laws, res ipsa loquitur, and has harmed Plaintiff and the
injury was caused by the violation of 18 U.S.C. §§1961, et seq.

92.Predicate Act: Obstruction of Justice

93. Federal defendant Alvarez deliberately arranged the conditions, so when
such conditions looked worse than they really were; Alvarez tampered with
evidence in flagrant violation of the predicate act of obstruction of justice
that allowed the Federal defendant(s) to the invested proceeds of the pattern
of racketeering activity into and fund the Enterprise, (18 U.S.C. §1962(a)).

94. By implication in the instant action, the Federal defendants meet all four of
the specified relationships of par. 61: they funded the Enterprise; the Federal
defendants acquired and maintained an interest in the Enterprise through the
pattern of racketeering activity; the Federal defendants conducted or
participated in the affairs of the Enterprise through the pattern of
racketeering activity; and conspired to do one of the aforementioned, res
ipsa loquitur.

95.18 U.S.C. §1503 provides:
Whoever corruptly...endeavors to influence, obstructs, or impedes, or

endeavors to influence, obstruct, or impede, the due administration of justice.

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 15 of 21

96.Federal defendant Alvarez tampered with evidence that cast an unwarranted
negative light upon Plaintiff, thereby usurping the power of the courts, and
resulted in obstruction of justice.
97.DISCUSSION
98.18 U.S.C. §1515 states:
...the term “corruptly” means acting with an improper purpose personally or
by influencing another, including making a false or misleading statement, or
withholding, concealing, altering, or destroying a document or other
information.
99.Plaintiff states, by the facts of the instant action make it abundantly clear
that Federal defendant Alvarez deliberately arranged the conditions, so when
such conditions looked worse than they really were; Alvarez tampered with
evidence and in doing so, Federal defendant Alvarez committed obstruction
of justice under Section 1503.
100. Predicate Act: Extortion
101. Federal defendant Hawkinson and Yim, extorted when he called all of
Plaintiff's many witnesses and family supporters to them [we](plaintiff s
family) are all mental that if they took [us](plaintiff’s family) in or help us,
that it will be 18 long years and that if anyone wants to be [our](plaintiff’s

family), and threatened them with exposure to the tax authorities, medical

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 16 of 21

authorities, and any other departments, anytime, for the entire duration of 18
years and allowed the Enterprise to invest such sums in the proceeds of the
pattern of racketeering activity into and fund the Enterprise, (18 U.S.C.
§1962(a)).

102. Extortion is defined as the obtaining of property from another with his
or her consent by the wrongful use of either force or fear, or under color of
official right. The property or right to property must be obtained. This can be
either the property itself or the right to it.

103. Property rights that can be transferred to constitute extortion.

a. The right to prosecute a lawsuit or an appeal;
b. Obtaining an official act of a public officer can be the basis for
extortion.

104. If a person makes an extortionate demand in writing, he/she may be
guilty even if the victim parts with no property

105. Any person who, by use of improper threat, to another person’s
signature on any document gets giving a property right may be charged with
extortion even if the property right is never actually obtained.

106. DISCUSSION

107. Plaintiff asserts Federal defendant Hawkinson and Yim extorted

plaintiff when Hawkinson called all of plaintiff's witness’s and family

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 17 of 21

supporters to tell them [we](plaintiff's family) are all mental and that if they
took [us](plaintiff’s family) in or help us, that will be 18 long years and that
if anyone wants to be [our](plaintiff’s family), would be exposed to the tax
authorities, medical authorities, and any other departments, anytime, for the
entire duration of 18 years.

108. Federal defendant Hawkinson and Yim induced Plaintiffs witnesses
to provide that property under the color of official right.

109. Where Plaintiff sees that there has been no progress toward
reunification, the implication is that Federal defendants will seek further
legal intervention against Plaintiff (termination of parental rights) and
directing LF, KF, EF, & RF to out of state adoption should Plaintiff not
acceded to the Federal defendants’ demands.

110. Predicate Act: Conspiracy to Cover-up Witness Tampering and
Obstruction of Justice

111. 42 U.S.C. §1985 provides:

If two or more persons in any State or Territory conspire to deter, by force,
intimidation, or threat, any party or witness...from attending such court, or
from testifying to any matter pending therein, freely, fully, and truthfully, or
to...influence the verdict, presentment, or indictment of any grand or petit

juror in any such court, or to injure such juror in his/her person or property

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 18 of 21

on account of any verdict, presentment, or indictment lawfully assented to by
him/her, or for his/her being or having been such juror; or if two or more
persons conspire for the purpose of impeding, hindering, obstructing, or
defeating, in any manner, the due course of justice in any State or Territory,
with intent to deny to any citizen the equal protection of the laws, or to injure
him or his property for lawfully enforcing, or attempting to enforce, the right
of any person, or class of persons, to the equal protection of the laws.

112. DISCUSSION

Lis. It will be established during Discovery that the Federal defendants,
inter alia, Hawkinson, Yim, and Alvarez persuaded Plaintiff's witnesses to
make false statements of fact.

114. In doing so, Hawkinson, Yim, and Alvarez inspired and provided a
mechanism to the Federal defendants to create a conspiracy to cover up
witness tampering and obstruction of justice in Plaintiff's trial proceedings.

113. FEDERAL DEFENDANTS ARTHUR GEE-YEH TAN, BRIAN
HAWKINSON, AMY YIM, MAYRA ALVAREZ, & ANNA
PATROWSKY, ARE NOT IMMUNE.

116. The United States Supreme Court has stated that qualified immunity
is the norm, absolute immunity is the exception (Harlow v. Firzgerald, 457

U.S. 750, 800, 807, 810-11 (1982).

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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 19 of 21

117. In Balcerzak, Stephanie E. “Qualified Immunity for Government
Officials: The Problem of Constitutional Purpose in Civil Rights Litigation
95, No. 1 (Nov. 1985) pp. 126-147. The Yale Law Journal, the author stated:

In Harlow, the Supreme Court fundamentally altered the qualified
immunity defense available to an official charged with a constitutional
violation in a civil rights action for damages. Under Harlow, an official is
entitled to immunity unless his conduct violates a “clearly established”
constitutional right.

118. All constitutional rights are expressly stipulated and written in the
U.S. Constitution, which is the supreme law of the land, meaning that any
other laws which are in contradiction with it are considered unconstitutional
and thus regarded as invalid.

119, The Fourteenth Amendment to the U.S. Constitution provides:
[N]or shall any State deprive any person of life, liberty, or property,
without due process of law.

120. U.S.C. §1983 which provides in pertinent part:

Every person who, under color of any statute, ordinance, regulation,

custom or usage, of any State or Territory or the District of Columbia,
subjects, or causes to be subjected, any citizen of the United States or

other person within the jurisdiction thereof to the deprivation of any

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121. Respectfully, Federal defendants Hawkinson, Alvarez, and Yim has

122. Anna Patrowsky demanded that Plaintiff must take some type of

 

 

Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 20 of 21

rights, privileges, or immunities secured by the Constitution and laws,
shall be liable to the party injured in an action in at law, suit in equity,

or other proper proceeding for redress.

no defense in their noncompliance to State and Federal laws, therefore has
disqualified any immunity defense that protect social workers, therefore
making immunity inapplicable based on Federal defendants’ reckless,
malicious, above-the-law, and irreversible damages of causing severe harm
to Plaintiff's family autonomy, and friends. (...remains to subject every
person to its provisions, Supremacy Clause, Article Six, Clause 2 of the U.S.
Constitution that establishes the U.S. Constitution, trumps State laws. The

Fourteenth Amendment, Harlow and §1983).

psychedelic drug and stated that “If [you](Plaintiff) do not take it, then
[I](Patrowsky) will call CPS to take your children away, throw you into the
ward, do not disclose the address so no one can save you and that you cannot
see another day’s light, and you will lose your children forever. That way,
you'll know who’s boss!” and Patrowsky yelled, “[I](Patrowsky), am THE
LAW!” (... Anyone (doctors, and all) who intentionally and or negligently

cause injury to someone, then they are liable for compensatory damages

 
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Case 3:19-cv-06877-LB Document 44-1 Filed 01/06/20 Page 21 of 21

and... punitive damages, California Civil Code §1714, & Any person who
makes a report of child abuse or neglect known to be false or with reckless
disregard of the truth or falsify of the report is liable for any damages
caused, without immunity, Penal Code § 11172(a).)

23. Alvarez lied about LF, KF, & EF being home by themselves when
the police, (that Alvarez called), together, the police and Alvarez found the
children at Plaintiff's Bella Villagio apartment with Martin Shiang and
Emily Yang which the police report reflected accordingly (herein as Exhibit
A”). (Any person who makes a report of child abuse or neglect known to be
false or with reckless disregard of the truth or falsify of the report is liable
for any damages caused, without immunity, Penal Code §
11172(a);...Anyone (doctors, and all) who intentionally and or negligently
cause injury to someone, then they are liable for compensatory damages
and... punitive damages, California Civil Code §1714; and to base on
insufficient evidence to remove children, Evidence §388).

124. On August 23, 2019, Yim suddenly concocted an entrapment
scheme where the children have an appointment for immunization shots but
were not allowed to go because Yim said so, and then later had to get a
night-time appointment, where federal defendant Yim further pretended she

had no knowledge about the immune appointment and intentionally removed

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